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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

STACY BUTLER, : Civil No. 3:20-cv-176
Plaintiff : (Judge Mariani)
V.
P. ZDZIARSKI,
Defendant
ORDER

AND NOW, this lor day of January, 2021, upon consideration of Plaintiff's
motion (Doc. 13) for appointment of counsel, and in accordance with the Memorandum

issued this date, IT IS HEREBY ORDERED THAT the motion (Doc. 13) is DENIED without

(Soy tAA Whi,

Rébert D. Mariani
United States District Judge

prejudice.
